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                     IN THE UNITED STATES DISTRICT COURT
                      FOR THE NORTHERN DISTRICT OF OHIO
                               EASTERN DIVISION

JOHN DOE,                                    )       Case No.: 1:20-cv-00669
                                             )
               Plaintiff,                    )       JUDGE DAN AARON POLSTER
                                             )
       vs.                                   )       PLAINTIFF’S MOTION FOR
                                             )       RECONSIDERATION OF
OBERLIN COLLEGE, et al.                      )       COURT’S EXPRESSED
                                             )       INTENTION TO DISMISS
                                             )       PLAINTIFF’S CLAIMS AND TO
                                             )       DENY PLAINTIFF’S MOTION
                                             )       FOR A TEMPORARY
               Defendants.                   )       RESTRAINING ORDER


       Now comes the Plaintiff, by and through undersigned counsel, and respectfully

moves this Honorable Court to reconsider its expressed intention to dismiss Plaintiff’s

Complaint without prejudice and to deny his Motion for a Temporary Restraining Order,

based upon the March 23, 2020 decision of the United States District Court for the

Eastern District of Michigan, Southern Division, in Doe v. University of Michigan, 18-

1776, that held in part:

   1) a University of Michigan student accused of violating the University’s Sexual
      Misconduct Policy had standing to sue the University under 42 U.S.C. § 1983
      and Title IX prior to the University conducting a formal hearing against him
      and prior to any sanctions and discipline being imposed against him;

   2) the student’s causes of action against the University of Michigan were ripe prior
      to the University conducting a formal hearing against him and prior to any
      sanctions and discipline being imposed against him because his injury involved
      the deprivation of one of the most basic due process rights – the hearing itself;

   3) the student’s causes of actions against the University of Michigan were not moot
      because the student was entitled to clarity as to the procedural safeguards that the
      University would implement and follow in proceeding with its disciplinary
      proceeding against him; and
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   4) the student was entitled to judgment as a matter of law on his claims that the
      portions of the University of Michigan’s 2018 and Interim 2019 Sexual
      Misconduct Policies were unconstitutional prior to the University conducting a
      formal hearing against him and prior to any sanctions and discipline being
      imposed against him;

       Based on the very recent decision in Doe v. University of Michigan, supra, and for

the additional reasons more fully set forth in the Brief in Support, attached hereto and

incorporated herein, Plaintiff respectfully moves this Honorable Court to reconsider its

expressed intention to dismiss his Complaint without prejudice and to deny his Motion

for a Temporary Restraining Order.

                                              Respectfully Submitted

                                              /s/ Brian A. Murray____________________
                                              LARRY W. ZUKERMAN, Esq. (0029498)
                                              S. MICHAEL LEAR, Esq. (0041544)
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                                              Counsel for Plaintiff John Doe




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                                      BRIEF IN SUPPORT

     I. OBERLIN COLLEGE’S SEXUAL MISCONDUCT POLICY CONTAINS
        PROCEDURES THAT HAVE BEEN REPEATEDLY HELD TO BE
        UNCONSTITUTIONAL BY THE 6TH CIRCUIT COURT OF APPEALS

      Plaintiff respectfully asserts that Oberlin College’s Sexual Misconduct Policy

contains provisions and procedures that would allow the College to make an adjudication

that he violated said policy by engaging in non-consensual sexual conduct with another

student without providing him with the constitutionally mandated live hearing

requirement and without providing him with the constitutionally mandated opportunity to

confront his accuser and any other adverse witnesses against him in the presence of a

neutral fact finder.

        The Oberlin Policy specifically provides that “the College may substitute an

alternate method of adjudication at its discretion” if a full Hearing Panel “cannot

reasonably be convened”, due to situations such as the adjudication being scheduled

during a break, at the end of a semester, and after the end of the academic year.1 The

Oberlin Policy does not define and/or describe what procedures that it would implement

if it decides to proceed with an “alternate method of adjudication.”

        The Oberlin Policy also does not require the participation of the reporting party

(Plaintiff’s accuser) or any of the witnesses interviewed by the College’s Title IX

investigator at the adjudicatory hearing.2 The Policy notes that “the College’s ability to

present evidence at the full hearing may be limited in the instance that a Reporting Party




1
  Relevant portion of Oberlin College’s October 16, 2019 Sexual Misconduct Policy, attached hereto as
Exhibit A, at p.51.
2
  Relevant portion of Oberlin College’s October 16, 2019 Sexual Misconduct Policy, at p.57.


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chooses not to participate in the hearing.”3 The Policy also notes that in the event that a

Reporting Party chooses to not participate in the hearing, “Oberlin College will assume

the function of the Reporting Party” and in such instances “the Title IX Coordinator will

appoint an administrator as the institutional representative to serve as the Reporting

Party.”4 The Policy does not describe how the College and/or appointed administrator

and/or institutional representative functions as the Reporting Party during the

adjudicatory hearing, such as whether said individuals are permitted to read a statement

prepared by the Reporting Party and/or whether the Title IX investigator and/or anyone

else is permitted to present any alleged evidence or statements provided by the Reporting

Party in the Reporting Party’s absence.

    II. DOE v. MICHIGAN AND ITS REPEATED HOLDINGS THAT A COURT
        CANNOT SIMPLY STANDBY AND WAIT FOR A COLLEGE TO
        COMPLETE ITS TITLE IX INVESTIGATION AND TO RENDER ITS
        FINDINGS BEFORE INTERVENING TO ENSURE THAT AN ACCUSED
        STUDENT’S DUE PROECSS RIGHTS ARE PROTECTED

      The plaintiff in Doe v. Michigan, case No. 18-1776 (E.D. Michigan), is a male

student who was accused of sexual assault by a female student.5 On March 12, 2018 the

female student alleged that the plaintiff had a sexual encounter with her that was not

consensual in a complaint she filed with the University’s Office of Institutional Equity.6

The plaintiff maintained that said encounter was consensual. 7 There were no other

witnesses to the encounter.8




3
  Relevant portion of Oberlin College’s October 16, 2019 Sexual Misconduct Policy, attached hereto as
Exhibit A, at p.57.
4
  Relevant portion of Oberlin College’s October 16, 2019 Sexual Misconduct Policy, at p.49.
5
  Doe v. University of Michigan, 18-1776 (E.D. Michigan, March 23, 2020), attached hereto as Exhibit B.
6
  Doe v. University of Michigan, 18-1776 (E.D. Michigan, March 23, 2020).
7
  Doe v. University of Michigan, 18-1776 (E.D. Michigan, March 23, 2020).
8
  Doe v. University of Michigan, 18-1776 (E.D. Michigan, March 23, 2020).


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           A. DOE WAS ENTITLED TO INJUNCTIVE RELIEF AS IT RELATED
              TO THE UNIVERSITY OF MICHIGAN’S 2018 SEXUAL
              MISCONDUCT POLICY PRIOR TO THE UNIVERSITY
              COMPLETING ITS INVESTIGATION IN THE ALLEGATIONS
              AGAINST HIM

       The University of Michigan’s 2018 sexual misconduct policy did not provide the

plaintiff with the right to a live hearing to defend against the allegations that he violated

said policy by engaging in non-consensual sex with said female student.9 Instead, an

investigator would conduct an investigation and issue a report in which he/she would

make a determination by a preponderance of the evidence as to whether the plaintiff

violated the policy.10

       While the University of Michigan’s investigation was proceeding against him, the

plaintiff filed his lawsuit on June 4, 2018 against the University and other University

officials challenging the constitutionality of the policy and seeking a restraining order and

injunctive relief to prevent the University’s investigator from rendering her finding as to

whether he violated the University’s policy.

       On June 28, 2018, Senior United States District Court Judge Arthur J. Tarnow held

a hearing on the plaintiff’s motion for a restraining order and preliminary injunction

against the University of Michigan.11 The University argued that the plaintiff’s causes of

actions failed because they were not ripe for decision.12 In support of its argument, the

University asserted that in the absence of a finding that the plaintiff violated its policy




9
  Doe v. University of Michigan, 18-1776 (E.D. Michigan, March 23, 2020), attached hereto as Exhibit B.
10
   Doe v. University of Michigan, 18-1776 (E.D. Michigan, March 23, 2020).
11
   Doe v. University of Michigan, 325 F.Supp.3d 821, 826 (E.D. Michigan 2018).
12
   Doe v. University of Michigan, 325 F.Supp.3d 821, 826 (E.D. Michigan 2018).


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and/or until University imposed a sanction on him, the plaintiff had no due process claim

to adjudicate.13

       Judge Tarnow rejected the University’s argument and held that plaintiff had

satisfied all three (3) factors of the ripeness inquiry: 1) the likelihood that the harm

alleged by the plaintiff will ever come to pass; 2) whether the factual record is

sufficiently developed to produce a fair adjudication of the merits of the parties’

respective claims; and 3) the hardship to the parties if judicial release is denied at this

stage in the proceedings.14 Judge Tarnow reasoned that the plaintiff, without sufficient

due process protections, was at immediate risk of expulsion and had already suffered

injury as sexual assault allegations “may impugn his reputation and integrity, thus

implicating a protected liberty interest.”15

       Judge Tarnow further held that additional facts were unnecessary to fairly

adjudicate the merits of the plaintiff’s case because he had examined the University’s

policy and the relevant case law and was well-equipped to determine whether the policy

adequately protected the plaintiff’s due process rights.16 Judge Tarnow then found that if

he denied the plaintiff’s motion for injunctive relief, but ultimately finds that the policy

violates due process, the plaintiff would have been forced to defend himself against

serious sexual assault allegations without adequate constitutional safeguards.17




13
   Doe v. University of Michigan, 325 F.Supp.3d 821, 826 (E.D. Michigan 2018).
14
   Doe v. University of Michigan, 325 F.Supp.3d 821, 826 (E.D. Michigan 2018) (citing Berry v. Schmitt,
688 F.3d 290, 298.
15
   Doe v. University of Michigan, 325 F.Supp.3d 821, 826 (E.D. Michigan 2018) (citing Doe v. Univ. of
Cincinnati, 872 F.3d 393, 399 (6th Cir. 2017).
16
   Doe v. University of Michigan, 325 F.Supp.3d 821, 826 (E.D. Michigan 2018).
17
   Doe v. University of Michigan, 325 F.Supp.3d 821, 826 (E.D. Michigan 2018).


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       Judge Tarnow then reasoned “Defendants essentially ask this Court to sit back and

wait for the investigator to issue findings against Plaintiff before intervening in this

action. But at this very moment, the University may be denying Plaintiff due process

protections to which he is entitled. The Court cannot, and will not, simply standby as

the fruit continues to rot on the tree. This case is ripe for adjudication.”18

       Judge Tarnow subsequently found that the plaintiff was entitled to a preliminary

injunction against the University of Michigan because he was entitled a to a hearing and

to cross-examination.19 In support of his decision, Judge Tarnow cited the Sixth Circuit

Court of Appeals’ decision in Doe v. University of Cincinnati, 872 F.3d 393 (6th Cir.

2017) in which the Sixth Circuit held that a male student accused of engaging in non-

consensual sex with a female student was entitled to a preliminary injunction prohibiting

the University from finding him responsible for sexual assault without having had the

opportunity to cross-examine his accuser. 20

       The record on appeal in Doe v. University of Cincinnati, supra, reflected that the

female student, Jane Roe, did not appear at the respondent John Doe’s sexual misconduct

hearing, and that the panel Chair read Jane Roe’s statement to the panel.21 Accordingly,

neither the respondent nor the panel were able to ask Jane Roe any questions.22




18
   Doe v. University of Michigan, 325 F.Supp.3d 821, 826 (E.D. Michigan 2018) (emphasis added).
19
   Doe v. University of Michigan, 325 F.Supp.3d 821, 827 (E.D. Michigan 2018)
20
   Doe v. University of Michigan, 325 F.Supp.3d 821, 827 (E.D. Michigan 2018)(citing Doe v. University of
Cincinnati, 872 F.3d 393, 402 (6th Cir. 2017).
21
   Doe v. University of Michigan, 325 F.Supp.3d 821, 827 (E.D. Michigan 2018)(citing Doe v. University of
Cincinnati, 872 F.3d 393, 397 (6th Cir. 2017).
22
   Doe v. University of Michigan, 325 F.Supp.3d 821, 827 (E.D. Michigan 2018)(citing Doe v. University of
Cincinnati, 872 F.3d 393, 397 (6th Cir. 2017).


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Nevertheless, the panel still found John Doe responsible for violating the University of

Cincinnati’s sexual misconduct policy.23

         In granting the Plaintiff’s motion for a preliminary injunction during the

University of Michigan’s sexual misconduct investigation, Judge Tarnow stated that

“[u]nlike the [sexual misconduct] policies which the Sixth Circuit has upheld, [the

University of Michigan’s] policy deprives Plaintiff of a live hearing and the opportunity

to face his accuser.”24 Judge Tarnow further stated “[w]ithout a live proceeding, the risk

of an erroneous deprivation of Plaintiff’s interest in his reputation, education, and

employment is significant” and noted that “[a]dditional procedural safeguards would both

assist the truth-seeking process and help ensure the protection of Plaintiff’s constitutional

rights.”25

         Judge Tarnow further found: 1) requiring the University of Michigan to hold

hearings for students accused of sexual assault would not be fiscally or administratively

burdensome; 2) the plaintiff was likely to succeed on the merits of his claim that the

University of Michigan’s Policy, which afforded neither a live hearing nor cross-

examination, violated his right to due process; 3) the Court was permitted to presume the

Plaintiff would suffer irreparable harm if injunctive relief was not granted because his

constitutional right to due process was “threatened or impaired” and money damages

could not compensate Plaintiff for the reputational harm he had already suffered and will

continue to suffer as a consequence of sexual assault allegations; 4) the potential harm an

injunction may pose to the University’ strong interest in maintaining campus safety and


23
   Doe v. University of Michigan, 325 F.Supp.3d 821, 827 (E.D. Michigan 2018)(citing Doe v. University of
Cincinnati, 872 F.3d 393, 397 (6th Cir. 2017).
24
   Doe v. University of Michigan, 325 F.Supp.3d 821, 828 (E.D. Michigan 2018).
25
   Doe v. University of Michigan, 325 F.Supp.3d 821, 828 (E.D. Michigan 2018).


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disciplining students who have committed sexual misconduct and the emotional harm and

trauma that the complainant may suffer by having to appear at a live hearing with

questioning did not outweigh the basic protection for the due process rights of an accused

student; and 5) the public interest factor was neutral as the public had both an interest

protecting a person’s constitutional rights to due process and in ensuring the safety and

well-being of students on university campuses.26

           On April 10, 2019, the Sixth Circuit Court of Appeals vacated Judge Tarnow’s

order granting injunctive relief to the accused University of Michigan Student and

remanded the matter back to him for reconsideration in light of: 1) its September 25,

2018 decision in Doe v. Baum, 903 F.3d 575 (6th Cir. 2018), involving another University

of Michigan student accused of violating the University’s sexual misconduct policy, in

which it held that if a university has to choose between competing narratives to resolve a

case, the university must give the accused student or his agent an opportunity to cross-

examine the accuser and adverse witnesses in the presence of a neutral fact finder; and 2)

the University of Michigan’s Interim 2019 Sexual Misconduct Policy that the University

claimed it would use to adjudicate the sexual misconduct allegations against the plaintiff.

             B. DOE WAS ALSO FOUND TO BE ENTITLED TO INJUNCTIVE
                RELIEF AS IT RELATED TO THE UNIVERSITY OF MICHIGAN’S
                2019 SEXUAL MISCONDUCT POLICY PRIOR TO THE
                UNIVERSITY PROCEEDING TO A HEARING AGAINST HIM

         On January 19, 2019, the University of Michigan issued an Interim Sexual

Misconduct Policy that it claimed it would use against the plaintiff.27 Said Policy

provided both students with the opportunity to appear before a hearing officer and to



26
     Doe v. University of Michigan, 325 F.Supp.3d 821, 828-29 (E.D. Michigan 2018).
27
     Doe v. University of Michigan, 18-1776 (E.D. Michigan, March 23, 2020), attached hereto as Exhibit B.


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question the opposing party and witnesses after the University completed its investigation

into the reporting party’s allegations and provided the parties with an opportunity to

review the final investigation report.28 The Policy also provided that attendance at the

hearing was voluntary, and if either party or a material witness chose not to attend, the

Title IX Coordinator would decide whether the University would proceed with the

hearing.29 Following the hearing, the hearing officer would decide by a preponderance of

the evidence whether a respondent violated the University of Michigan’s 2019 Sexual

Misconduct Policy.30

         The University of Michigan moved Judge Tarnow to dismiss the plaintiff’s causes

of action pursuant to Fed.R.Civ.P. 12(b)(1) for mootness, lack of standing, and lack of

ripeness.31 The University of Michigan again argued that the plaintiff lacked standing

and that his claims were not ripe because he had yet to suffer any injury since no guilty

findings or sanctions had been imposed upon him.32 Judge Tarnow rejected the

University’s argument again, holding that “Plaintiff’s injury lies in the deprivation of one

of the most basic due process rights-the hearing itself.”33

         The University of Michigan also argued that the plaintiff’s due process claims

were muted by its 2019 Sexual Misconduct Policy which would provide the plaintiff with

a hearing.34 Judge Tarnow rejected the University’s argument, reasoning that the

“Defendants’ voluntary cessation through the Interim Policy does not assure Plaintiff that




28
   Doe v. University of Michigan, 18-1776 (E.D. Michigan, March 23, 2020), attached hereto as Exhibit B.
29
   Doe v. University of Michigan, 18-1776 (E.D. Michigan, March 23, 2020).
30
   Doe v. University of Michigan, 18-1776 (E.D. Michigan, March 23, 2020).
31
   Doe v. University of Michigan, 18-1776 (E.D. Michigan, March 23, 2020).
32
   Doe v. University of Michigan, 18-1776 (E.D. Michigan, March 23, 2020).
33
   Doe v. University of Michigan, 18-1776 (E.D. Michigan, March 23, 2020).
34
   Doe v. University of Michigan, 18-1776 (E.D. Michigan, March 23, 2020).


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Defendants’ will not return to [their] old ways” and that Plaintiff’s case could only be

mooted “if it is absolutely clear that the allegedly wrongful behavior could not reasonably

be expected to recur.”35 Judge Tarnow also noted that “[t]he heavy burden of persuading

the court that the challenged conduct cannot reasonably be expected to start up again lies

with the party asserting mootness” and that as the University of Michigan failed to meet

that burden, the Plaintiff’s due process claims were not moot.36

         Judge Tarnow subsequently held that the Plaintiff was entitled to injunctive relief

in that while the University of Michigan could proceed with a disciplinary proceeding

against him, the University was ordered to provide him with a live hearing and with the

opportunity to cross-examine witnesses and the claimant since the outcome of his

disciplinary action rested on competing narratives.37

         Note, the University of Michigan’s adjudication hearing on the complainant’s

allegations that respondent in Doe v. Michigan, engaged in non-consensual sex with her

will occur more than two (2) years after she made her allegations to the University and

the University began conducting its investigation and while a prior respondent’s appeal of

the University of Michigan’s sexual misconduct policy and the sanctions imposed against

him was on appeal to the Sixth Circuit Court of Appeals. At no point in time in any of

the litigation in Doe v. Michigan was there ever a concern expressed that the University

of Michigan would somehow be in violation of Title IX and lose its federal funding if its

Title IX sexual misconduct adjudicatory process was delayed due to a respondent being

entitled to injunctive relief and/or litigating said issues prior to an adjudication as to



35
   Doe v. University of Michigan, 18-1776 (E.D. Michigan, March 23, 2020), attached hereto as Exhibit B.
36
   Doe v. University of Michigan, 18-1776 (E.D. Michigan, March 23, 2020).
37
   Doe v. University of Michigan, 18-1776 (E.D. Michigan, March 23, 2020).


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whether he had violated their policy. Thus, Defense Counsel’s representations to this

Honorable Court, without citing to any legal authority or precedent that supports their

position that Oberlin College will somehow lose its federal funding or be in violation of

Title IX if this Honorable Court grants Plaintiff’s motion for injunctive relief and/or

requires Oberlin College to wait until the Sixth Circuit issues its forthcoming opinion in

John Doe v. Oberlin College, Case No. case number 19-3342, before proceeding to an

adjudicatory hearing against the Plaintiff is not well-founded and should not be given any

weight.

     III. THE OBERLIN COLLEGE SEXUAL MISCONDUCT POLICY, LIKE
          THE UNCONSTITUTIONAL UNIVERSITY OF MICHIGAN POLICIES,
          FAILS TO GUARANTEE THE PLAINTIFF THE RIGHT TO A LIVE
          HEARING AND THE RIGHT TO CROSS-EXAMINE HIS ACCUSER
          AND OTHER WITNESSES

           Just as the district court in Doe v. University of Michigan, ultimately held that the

University of Michigan’s sexual misconduct policies were unconstitutional and that

University of Michigan could only proceed with its disciplinary proceedings against the

plaintiff if it provided the plaintiff with a live hearing and the opportunity to cross-

examine his accuser and other witnesses,38 so too should this Honorable Court in respect

to the Oberlin Sexual Misconduct Policy and the disciplinary proceedings that Oberlin

College has initiated against Plaintiff.

       A. THE OBERLIN POLICY VIOLATES PLAINTIFF’S CONSTITUTIONAL
          RIGHTS TO DUE PROCESS BY FAILING TO GUARANTEE THAT HE
          WILL RECEIVE A LIVE HEARING

           The Oberlin Policy specifically provides that “the College may substitute an

alternate method of adjudication at its discretion” if a full Hearing Panel “cannot



38
     Doe v. University of Michigan, 18-1776 (E.D. Michigan, March 23, 2020), attached hereto as Exhibit B.


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reasonably be convened.”39 The Oberlin Policy provides examples of when a full

Hearing Panel might not be able to be convened, such as “at or after the end of a semester

or academic year or during the Winter Term.”40

         As the Oberlin College’s Spring semester and its 2019-2020 academic year is

scheduled to end on Sunday, May 17, 202041 and due to the current and likely continued

social distancing measures implemented by Oberlin College and the State of Ohio, there

is a significant likelihood that the College will implement the clause in its Policy that

allows for an “alternate method of adjudication.” The Oberlin Policy fails to define

and/or provide any guidance as to what an “alternative method of adjudication” entails.

However, it’s very name suggests that said procedure and/or process would not involve a

live hearing.

         Accordingly, this Honorable Court, like the district court in Doe v. Michigan,

supra, should issue an Order requiring the Oberlin College Defendants to provide the

Plaintiff with a live hearing to defend against the allegations that he violated the Oberlin

Policy and with clarity as to the procedural safeguards that the College would implement

and follow if it decides to proceed with its “alternative method of adjudication.”

      B. THE OBERLIN POLICY VIOLATES PLAINTIFF’S CONSTITUTIONAL
         RIGHTS TO DUE PROCESS BY FAILING TO GUARANTEE THAT HE
         WILL HAVE AN OPPORTUNITY TO CROSS-EXAMINE HIS ACCUSER
         AND OTHER WITNESSES AT A LIVE HEARING

         The Oberlin Policy does not require the participation of the reporting party




39
   Relevant portion of Oberlin College’s October 16, 2019 Sexual Misconduct Policy, attached hereto as
Exhibit A, at p.51.
40
   Relevant portion of Oberlin College’s October 16, 2019 Sexual Misconduct Policy, at p.51.
41
   Oberlin College calendar for 2019-2020 academic year, attached hereto as Exhibit C.


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(Plaintiff’s accuser) or any of the witnesses interviewed by the College’s Title IX

investigator at the live hearing.42 The Policy notes that “the College’s ability to present

evidence at the full hearing may be limited in the instance that a Reporting Party chooses

not to participate in the hearing.”43 The Policy also notes that in the event that a

Reporting Party chooses to not participate in the hearing, “Oberlin College will assume

the function of the Reporting Party” and in such instances “the Title IX Coordinator will

appoint an administrator as the institutional representative to serve as the Reporting

Party.”44

        The Oberlin Policy clearly reflects that the College would intend to proceed with a

formal hearing against a Respondent Party, such as the Plaintiff, even if his accuser chose

to not participate at the hearing.

        Accordingly, this Honorable Court, like the district court in Doe v. Michigan, supra,

should issue an Order requiring the Oberlin College Defendants to provide the Plaintiff

with an opportunity to cross-examine his accuser and any other witnesses against him at a

live hearing.

     IV. PLAINTIFF SHOULD HAVE AN OPPORTUNITY TO FILE AN
         AMENDED COMPLAINT FOR THE PURPOSE OF ESTABLISHING
         THAT THIS HONORABLE COURT HAS DIVERSITY JURISDICTION
         OVER HIS STATE LAW CLAIMS

        Plaintiff respectfully asserts that this Honorable Court should grant him leave to file

an Amended Complaint in this matter to assert that this Honorable Court has jurisdiction

over his state law claims pursuant to 28 U.S.C. §1332, as the matter in controversy on his



42
   Relevant portion of Oberlin College’s October 16, 2019 Sexual Misconduct Policy, attached hereto as
Exhibit A, at p.57.
43
   Relevant portion of Oberlin College’s October 16, 2019 Sexual Misconduct Policy, at p.57.
44
   Relevant portion of Oberlin College’s October 16, 2019 Sexual Misconduct Policy, at p.49.


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state law claims exceeds $75,000.00, exclusive of interests and costs, and is between

citizens of different States. Plaintiff is a citizen of the State of Georgia and the

Defendants are citizens of the State of Ohio. Plaintiff did not aver in his Complaint that

he was a citizen of Georgia because he filed his Complaint in the Lorain County Court of

Common Pleas and there was no issue as to whether the Lorain County Court of

Common Pleas had jurisdiction over his state law claims as the Defendants conduct

occurred in Lorain County.

        Plaintiff further asserts that his state law causes of action for breach of contract

and promissory estoppel accrued on or about February 26, 2020 and are therefore ripe for

this Honorable Court’s consideration, regardless of whether this Honorable Court denies

the Plaintiff’s request for a restraining order and/or injunctive relief and/or dismisses his

42 U.S.C § 1983 claims and Title IX claims. If this Honorable Court does not grant

Plaintiff permission to file an Amended Complaint in this matter, he would respectfully

request that this Honorable Court remand his state law claims back to the Lorain County

Court of Common Pleas.

        WHEREFORE, the Plaintiff, by and through undersigned counsel, respectfully

moves this Honorable Court to reconsider its expressed intention to dismiss Plaintiff’s

Complaint without prejudice and to deny his Motion for a Temporary Restraining Order

based upon the March 23, 2020 decision of the United States District Court for the

Eastern District of Michigan, Southern Division, in Doe v. University of Michigan, 18-

1776.

                                               Respectfully Submitted

                                               /s/ Brian A. Murray____________________
                                               LARRY W. ZUKERMAN, Esq. (0029498)



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                                CERTIFICATE OF SERVICE

        I hereby certify that a true and accurate copy of the foregoing was electronically
served to counsel for the Defendants on this 1st day of April 2020 via the Court’s
electronic filing system.

                                                     /s/ Brian A. Murray________
                                                     BRIAN A. MURRAY, Esq.




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